EXHIBIT 4
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               SECOND AMENDED EXHIBIT A: P.R. 3-1(C) CHART FOR U.S. PATENT NO. 6,072,450

Plaintiff Solas OLED Ltd. (Solas) provides this chart based upon information that is presently available to it. Solas has not had access to Samsung’s confi-
dential design documents or to other materials that may become available during discovery. Solas reserves the right to change or provide more detail to the
infringement theories set forth below, based upon information that it learns during this case, subject to the Court’s rules and orders.

Definitions:

The term ’450 Accused Instrumentalities is defined in Section I.B.1 of Plaintiff Solas OLED Limited’s Disclosure of Asserted Claims
and Infringement Contentions.

               Claim Element                                                           ’450 Accused Instrumentalities

1. A display apparatus comprising:               To the extent the preamble is deemed limiting, the ’450 Accused Instrumentalities comprise
                                                 a display apparatus. For example, the Samsung Galaxy S8 contains an OLED display panel:




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             Claim Element                                                   ’450 Accused Instrumentalities

[1a] a substrate;                           The ’450 Accused Instrumentalities comprise a substrate. For example, the Samsung Galaxy
                                            S8 contains a polyimide substrate:



                                                                substrate




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            Claim Element                                                   ’450 Accused Instrumentalities

[1b] active elements formed over said      The ’450 Accused Instrumentalities comprise active elements formed over said substrate and
substrate and driven by an externally      driven by an externally supplied signal. For example, the Samsung Galaxy S8 contains active
supplied signal;                           elements formed over the substrate:




                                                                                                             active element
                                                                                                                  (M1)




                                                                                                                   substrate




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Claim Element                                                   ’450 Accused Instrumentalities

                               These active elements are driven by an externally supplied signal, labeled “Data” below:




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             Claim Element                                                   ’450 Accused Instrumentalities

[1c] an insulation film formed over said    The ’450 Accused Instrumentalities comprise an insulation film formed over said substrate
substrate so as to cover said active ele-   so as to cover said active elements, said insulation having at least one contact hole. For ex-
ments, said insulation having at least      ample, in the Samsung Galaxy S8, an insulation film is formed over the substrate, covers the
one contact hole;                           active elements, and has contact holes:




                                                                             contact hole
                                                         insulation film




                                                                                                                active element




                                                                substrate




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             Claim Element                                                     ’450 Accused Instrumentalities

[1d] at least one first electrode formed    The ’450 Accused Instrumentalities comprise at least one first electrode formed on said insu-
on said insulation film so as to cover      lation film so as to cover said active elements, and connected to said active elements through
said active elements, and connected to      said at least one contact hole, said at least one first electrode being made of a material which
said active elements through said at        shields visible light. For example, in the Samsung Galaxy S8, an electrode is formed on the
least one contact hole, said at least one   insulation film, covers active elements, and is connected to active elements through contact
first electrode being made of a material    holes:
which shields visible light;




                                                                                                                           first elec-
                                                                                                                         trode (anode)
                                                         insulation film




                                                                                                            active element
                                                                                                                 (M1)




                                            This electrode is formed of silver, which shields visible light.




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              Claim Element                                                    ’450 Accused Instrumentalities

[1e] an organic electroluminescent            The ’450 Accused Instrumentalities comprise an organic electroluminescent layer having an
layer having an organic electrolumines-       organic electroluminescent material formed on said at least one first electrode so as to cover
cent material formed on said at least         said active elements and including at least one layer which emits light in accordance with a
one first electrode so as to cover said ac-   voltage applied to said at least one layer. For example, in the Samsung Galaxy S8, a layer of
tive elements and including at least one      organic electroluminescent material is formed on the electrode, and covers active elements:
layer which emits light in accordance
with a voltage applied to said at least
one layer; and




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Claim Element                                                      ’450 Accused Instrumentalities

                               This organic electroluminescent layer emits in accordance with a voltage applied to the layer
                               using the OLED cathode and anode:




                                                                               organic electrolumines-
                                                                                     cent layer




                                                     first elec-
                                                   trode (anode)




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             Claim Element                                                   ’450 Accused Instrumentalities

[1f] at least one second electrode          The ’450 Accused Instrumentalities comprise at least one second electrode formed on said
formed on said organic electrolumines-      organic electroluminescent layer which covers said active elements. For example, in the Sam-
cent layer which covers said active ele-    sung Galaxy S8, a second electrode is formed on the organic electroluminescent layer:
ments.




                                                                                                              second electrode
                                                                                                                 (cathode)




                                                                        organic electroluminescent
                                                                                   layer




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              Claim Element                                                        ’450 Accused Instrumentalities

4. The display apparatus according to        The ’450 Accused Instrumentalities comprise a display apparatus according to claim 1,
claim 1, wherein said active elements        wherein said active elements are a selection transistor which is turned on in response to an
are a selection transistor which is turned   externally supplied address signal corresponding to image data supplied externally through
on in response to an externally supplied     said selection transistor while said selection transistor is on, for controlling a voltage to be
address signal and a drive transistor,       applied to said organic electroluminescent layer, said selection transistor and said drive tran-
which is driven by a signal correspond-      sistor forming a pair. For example, in the Samsung Galaxy S8, the active elements include a
ing to image data supplied externally        selection transistor (see, for example, labels 7 and 9 below) and a drive transistor (see, for
through said selection transistor while      example, label 1 below):
said selection transistor is on, for con-
trolling a voltage to be applied to said
organic electroluminescent layer, said                                                              Vinit
                                                                           Scan
selection transistor and said drive tran-
sistor forming a pair.                                                     Vinit
                                                                                                   Anode Vdd

                                                                           En



                                                                          Scan

                                                                                                    Vinit      Data
                                                                          Scan-1

                                                                           Vinit




                                             The selection transistor shown above is turned on in response to an externally supplied ad-
                                             dress signal (see, for example, label “Scan” above). The drive transistor is driven by a signal
                                             corresponding to image data supplied externally (see, for example, label “Data” above). As
                                             shown above, the selection transistor and drive transistor form a pair.




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             Claim Element                                                        ’450 Accused Instrumentalities

                                            To the extent that Samsung contends elements labeled 7 and/or 9 in the image above do
                                            not literally satisfy the “selection transistor” element, that element is present under the doc-
                                            trine of equivalents. To the extent that Samsung contends the element “said active elements
                                            are . . .” is not literally present in the accused products, that element is present under the
                                            doctrine of equivalents.

5. The display apparatus according to       In the ’450 Accused Instrumentalities, the at least one first electrode is connected to said drive
claim 4, wherein said at least one first    transistor through said at least one contact hole. For example, in the Samsung Galaxy S8,
electrode is connected to said drive        the first electrode is connected to the drive transistor (see, for example, label 1 below) through
transistor through said at least one con-   a contact hole (see, for example, label “anode” below):
tact hole.

                                                                                                   Vinit
                                                                          Scan
                                                                          Vinit
                                                                                                  Anode Vdd
                                                                          En



                                                                         Scan

                                                                                                   Vinit      Data
                                                                         Scan-1
                                                                          Vinit




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              Claim Element                                                      ’450 Accused Instrumentalities

6. The display apparatus according to         In the ’450 Accused Instrumentalities, the display apparatus further comprises a capacitor
claim 4, wherein: said display apparatus      for retaining the signal corresponding to the image data externally supplied through said
further comprises a capacitor for retain-     selection transistor while said selection transistor is on; and while said selection transistor is
ing the signal corresponding to the im-       off, said drive transistor is driven by the signal retained in said capacitor. For example, in the
age data externally supplied through          Samsung Galaxy S8, the display apparatus contains a capacitor (label, for example, below)
said selection transistor while said selec-   retaining the signal corresponding to the image data while the selection transistor is on, and
tion transistor is on; and while said se-     while the selection transistor is off, the drive transistor is driven by the signal retained in the
lection transistor is off, said drive tran-   capacitor:
sistor is driven by the signal retained in
said capacitor.




                                                                                 contact hole
                                                           insulation film




                                                                                                                   active element




                                                                  substrate




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            Claim Element                                                   ’450 Accused Instrumentalities

8. The display apparatus according to      The ’450 Accused Instrumentalities comprise a display apparatus according to claim 1,
claim 1, wherein a constant voltage is     wherein a constant voltage is applied to said second electrode. For example, in the Samsung
applied to said second electrode.          Galaxy S8, a constant voltage is applied to said second electrode:




                                                                                                             second electrode
                                                                                                                (cathode)




                                                                       organic electroluminescent
                                                                                  layer




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12. The display apparatus according to       In the ’450 Accused Instrumentalities, the display apparatus further comprises at least one
claim 1, wherein: said display apparatus     filter formed above said at least one second electrode; and light lays in a first wavelength
further comprises at least one filter        range pass through said at least one filter selectively when incident light rays in a second
formed above said at least one second        wavelength range including said first wavelength range enter said at least one filter. On in-
electrode; and light rays in a first wave-   formation and belief, one or more of the ’450 Accused Instrumentalities contain a red, green,
length range pass through said at least      and blue color filter positioned above the cathode for each respective sub-pixel, selectively
one filter selectively when incident light   permitting light rays in red, green, and blue wavelength ranges respectively pass through each
rays in a second wavelength range in-        filter.
cluding said first wavelength range en-
ter said at least one filter.                As an example, in the Galaxy S6, a color filter layer comprising RGB filters are disposed over
                                             the OLED emitter layer, where each RGB sub-pixel is associated with a respective RGB
                                             color filter as shown below. The images are true color images. In the left-hand image, the
                                             blue/purple-colored portions of roughly oval shape correspond to a filter that allows green
                                             visible-spectrum light to pass; the yellow-colored portions of roughly diamond shape
                                             correspond to a filter that allows blue visible-spectrum light to pass; and the green-colored
                                             portions of roughly diamond shape correspond to a filter that allows red visible-spectrum
                                             light to pass.

                                              RGB filter                                     OLED level (RGB filter removed)




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              Claim Element                                                    ’450 Accused Instrumentalities

                                             As another example, in the Galaxy S7 edge, an organic overcoat layer (which provides RGB
                                             spectrum filtering) is disposed over the OLED emitter layer, where each RGB sub-pixel is
                                             associated with a respective RGB color filter as shown below. In this example, the images are
                                             true color images. In the left-hand image, the blue/purple-colored portions of roughly oval
                                             shape correspond to a filter that allows green visible-spectrum light to pass; the yellow-colored
                                             portions of roughly diamond shape correspond to a filter that allows blue visible-spectrum
                                             light to pass; and the green-colored portions of roughly diamond shape correspond to a filter
                                             that allows red visible-spectrum light to pass.

                                              Organic overcoat layer                           OLED level (overcoat layer removed)




13. The display apparatus according to       In the ’450 Accused Instrumentalities, the filters include a red filter which makes light in a
claim 12, wherein said at least one filter   red wavelength range pass through, a green filter which makes light in a green wavelength
has a red filter which makes light in a      range pass through, and a blue filter which makes light in a blue wavelength range pass
red wavelength range pass through, a         through. On information and belief, one or more of the ’450 Accused Instrumentalities con-
green filter which makes light in a green    tain a red, green, and blue color filter positioned above the cathode for each respective sub-
wavelength range pass through, and a



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             Claim Element                                                   ’450 Accused Instrumentalities

blue filter which makes light in a blue     pixel, selectively permitting light rays in red, green, and blue wavelength ranges respectively
wavelength range pass through.              pass through each filter.




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               As an example, in the Galaxy S6, a color filter layer comprising RGB filters are disposed over
               the OLED emitter layer, where each RGB sub-pixel is associated with a respective RGB
               color filter as shown below. The images are true color images. In the left-hand image, the
               blue/purple-colored portions of roughly oval shape correspond to a filter that allows green
               visible-spectrum light to pass; the yellow-colored portions of roughly diamond shape
               correspond to a filter that allows blue visible-spectrum light to pass; and the green-colored
               portions of roughly diamond shape correspond to a filter that allows red visible-spectrum
               light to pass.

                RGB filter                                      OLED level (RGB filter removed)




               As another example, in the Galaxy S7 edge, an organic overcoat layer (which provides RGB
               spectrum filtering) is disposed over the OLED emitter layer, where each RGB sub-pixel is
               associated with a respective RGB color filter as shown below. In this example, the images are
               true color images. In the left-hand image, the blue/purple-colored portions of roughly oval
               shape correspond to a filter that allows green visible-spectrum light to pass; the yellow-colored
               portions of roughly diamond shape correspond to a filter that allows blue visible-spectrum
               light to pass; and the green-colored portions of roughly diamond shape correspond to a filter
               that allows red visible-spectrum light to pass.




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            Claim Element                                                   ’450 Accused Instrumentalities

                                            Organic overcoat layer                          OLED level (overcoat layer removed)




15. A display apparatus comprising:        To the extent the preamble is deemed limiting, the ’450 Accused Instrumentalities comprise
                                           a display apparatus. For example, the Samsung Galaxy S8 contains an OLED display panel:




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             Claim Element                                                   ’450 Accused Instrumentalities

[15a] a substrate;                          The ’450 Accused Instrumentalities comprise a substrate. For example, the Samsung Galaxy
                                            S8 contains a polyimide substrate:



                                                                substrate




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             Claim Element                                                   ’450 Accused Instrumentalities

[15b] selection transistors formed over     The ’450 Accused Instrumentalities comprise selection transistors formed over said substrate
said substrate and arranged in a matrix     and arranged in a matrix pattern. For example, the Samsung Galaxy S8 contains active ele-
pattern;                                    ments formed over the substrate:




                                                                                                              active element
                                                                                                                   (M1)




                                                                                                                    substrate




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Claim Element                                                        ’450 Accused Instrumentalities


                               The active elements include selection transistors (see, for example, labels 7 and 9 below):


                                                                                      Vinit
                                                             Scan
                                                             Vinit
                                                                                     Anode Vdd
                                                             En



                                                            Scan

                                                                                      Vinit      Data
                                                            Scan-1

                                                             Vinit




                               As shown above the selection transistors corresponding to the various pixels are arranged in
                               a matrix pattern.

                               To the extent that Samsung contends elements labeled 7 and/or 9 in the image above do not
                               literally satisfy the “selection transistors . . . arranged in a matrix pattern” element, that ele-
                               ment is present under the doctrine of equivalents.




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              Claim Element                                                        ’450 Accused Instrumentalities

[15c] drive transistors formed over said     The ’450 Accused Instrumentalities comprise drive transistors formed over said substrate and
substrate and arranged in a matrix pat-      arranged in a matrix pattern, each of said drive transistors being connected to one of said
tern, each of said drive transistors being   selection transistors. For example, in the Samsung Galaxy S8, the active elements include
connected to one of said selection tran-     drive transistors (see, for example, label 1 below):
sistors;

                                                                                                    Vinit
                                                                           Scan
                                                                           Vinit
                                                                                                   Anode Vdd
                                                                           En



                                                                          Scan

                                                                                                    Vinit      Data
                                                                          Scan-1
                                                                           Vinit




                                             As shown above the drive transistors corresponding to the various pixels are arranged in a
                                             matrix pattern. Each drive transistor (see label 1) is connected to a selection transistor (see
                                             labels 7 and/or 9).




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              Claim Element                                                        ’450 Accused Instrumentalities

[15d] address lines connected to said se-    The ’450 Accused Instrumentalities comprise address lines connected to said selection tran-
lection transistors and through which a      sistors and through which a signal for turning on said selection transistors is supplied. For
signal for turning on said selection tran-   example, in the Samsung Galaxy S8, address lines (see, for example, the “Scan” line below)
sistors is supplied;                         are connected to the selection transistors and carry a signal for turning on the selection tran-
                                             sistors:


                                                                                                    Vinit
                                                                           Scan
                                                                           Vinit
                                                                                                   Anode Vdd

                                                                           En



                                                                          Scan

                                                                                                    Vinit      Data
                                                                          Scan-1
                                                                           Vinit




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              Claim Element                                                    ’450 Accused Instrumentalities

[15e] data lines connected to said selec-    The ’450 Accused Instrumentalities comprise data lines connected to said selection transis-
tion transistors, a signal which corre-      tors, a signal which corresponds to image data being supplied to said drive transistors through
sponds to image data being supplied to       said data lines and said selection transistors while said selection transistors are on. For exam-
said drive transistors through said data     ple, the Samsung Galaxy S8 contains data lines such as that labeled “Data” below:
lines and said selection transistors while
said selection transistors are on;




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Claim Element                                                       ’450 Accused Instrumentalities

                               A signal which corresponds to image data is supplied to the drive transistors (see label 1)
                               through the data lines and the selection transistors (see labels 7 and 9) while said selection
                               transistors are on:


                                                                                     Vinit
                                                            Scan
                                                            Vinit
                                                                                    Anode Vdd
                                                            En



                                                           Scan

                                                                                     Vinit      Data
                                                           Scan-1

                                                            Vinit




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             Claim Element                                                     ’450 Accused Instrumentalities

[15f] an insulation film formed over        The ’450 Accused Instrumentalities comprise an insulation film formed over said substrate
said substrate so as to cover said drive    so as to cover said drive transistors, said address lines and said data lines, said insulation film
transistors, said address lines and said    having contact holes formed in correspondence with said drive transistors. For example, in
data lines, said insulation film having     the Samsung Galaxy S8, an insulation film is formed over the substrate, covers the drive
contact holes formed in correspondence      transistors, address lines, and data lines, and has contact holes in correspondence with the
with said drive transistors;                drive transistors (see label M1):




                                                                               contact hole
                                                         insulation film




                                                                                                                 active element




                                                                substrate




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              Claim Element                                                       ’450 Accused Instrumentalities

[15g] first electrodes made of a material      The ’450 Accused Instrumentalities comprise first electrodes made of a material which shields
which shields visible light, and formed        visible light, and formed on said insulation film so as to cover said selection transistors and
on said insulation film so as to cover         said drive transistors, said first electrodes being arranged in a matrix pattern in areas sur-
said selection transistors and said drive      rounded by said address lines and said data lines, and being connected to said drive transistors
transistors, said first electrodes being ar-   through said contact holes. For example, in the Samsung Galaxy S8, an electrode is formed
ranged in a matrix pattern in areas sur-       on the insulation film, covers selection transistors and drive transistors, and is connected to
rounded by said address lines and said         active elements through contact holes:
data lines, and being connected to said
drive transistors
through said contact holes;



                                                                                                                              first elec-
                                                                                                                            trode (anode)
                                                            insulation film




                                                                                                               active element
                                                                                                                    (M1)




                                               This electrode is formed of silver, which shields visible light.




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Claim Element                                                   ’450 Accused Instrumentalities

                               The first electrodes are arranged in a matrix pattern in areas surrounded by the address lines
                               and the data lines:




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             Claim Element                                                    ’450 Accused Instrumentalities

[15h] an organic electroluminescent         The ’450 Accused Instrumentalities comprise an organic electroluminescent layer formed on
layer formed on said first electrodes       said first electrodes which covers said selection transistors and said drive transistors and in-
which covers said selection transistors     cluding at least one layer which emits light in accordance with an applied voltage. For exam-
and said drive transistors and including    ple, in the Samsung Galaxy S8, a layer of organic electroluminescent material is formed on
at least one layer which emits light in     the electrode, and covers selection transistors and drive transistors:
accordance with an applied voltage;




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Claim Element                                                      ’450 Accused Instrumentalities

                               This organic electroluminescent layer emits in accordance with a voltage applied to the layer
                               using the OLED cathode and anode:




                                                                               organic electrolumines-
                                                                                     cent layer




                                                     first elec-
                                                   trode (anode)




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              Claim Element                                                   ’450 Accused Instrumentalities

[15i] a second electrode formed on said      The ’450 Accused Instrumentalities comprise a second electrode formed on said organic elec-
organic electroluminescent layer which       troluminescent layer which covers said selection transistors and said drive transistors. For
covers said selection transistors and said   example, in the Samsung Galaxy S8, a second electrode is formed on the organic electrolu-
drive transistors;                           minescent layer covers selection transistors and drive transistors:




                                                                                                               second electrode
                                                                                                                  (cathode)




                                                                         organic electroluminescent
                                                                                    layer




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              Claim Element                                                          ’450 Accused Instrumentalities

[15j] a first driver circuit for selectively   The ’450 Accused Instrumentalities comprise a first driver circuit for selectively supplying
supplying said address signal to said ad-      said address signal to said address lines in sequence. For example, in the Samsung Galaxy
dress lines in sequence; and                   S8, the selection transistors are turned on in response to externally supplied address signals,
                                               such as lines “Scan-1” and “Scan” shown below:


                                                                                                      Vinit
                                                                             Scan
                                                                             Vinit
                                                                                                     Anode Vdd
                                                                             En



                                                                            Scan

                                                                                                      Vinit      Data
                                                                            Scan-1
                                                                             Vinit




                                               A driver circuit selectively supplies an address signal to these address lines in sequence, e.g.,
                                               “Scan-1” followed by “Scan.”




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             Claim Element                                                    ’450 Accused Instrumentalities

[15k] a second driver circuit for supply-   The ’450 Accused Instrumentalities comprise a second driver circuit for supplying said image
ing said image data to said data lines.     data to said data lines. For example, the Samsung Galaxy S8 contains data lines such as that
                                            labeled “Data” below:




                                            A driver circuit drives the data lines with electrical signals containing the image data.




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             Claim Element                                                   ’450 Accused Instrumentalities

16. The display apparatus according to      The ’450 Accused Instrumentalities comprise a display apparatus according to claim 15,
claim 15, wherein a constant voltage is     wherein a constant voltage is applied to said second electrode. For example, in the Samsung
applied to said second electrode.           Galaxy S8 a constant voltage is applied to said second electrode:




                                                                                                              second electrode
                                                                                                                 (cathode)




                                                                        organic electroluminescent
                                                                                   layer




                                                                   34
